 Case 4:16-cv-00754-ALM Document 41 Filed 12/01/17 Page 1 of 3 PageID #: 386



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

ELIZABETH ZACHARY, ON BEHALF                     §
OF HERSELF AND ALL OTHERS                        §
SIMILARLY SITUATED,                              §
                                                 §
       Plaintiffs,                               §
                                                 §     CIVIL ACTION NO. 4:16-CV-00754-ALM
v.                                               §
                                                 §
                                                 §
COBALT MORTGAGE, INC.,                           §
    Defendant.                                   §


     ORDER GRANTING JOINT MOTION TO EXTEND MEDIATION DEADLINE
                      AND STAYING DISCOVERY


                                             ORDER

       This matter comes before the Court on the Parties’ Joint Motion to Extend Mediation

Deadline and Stay Discovery (Dkt. #40). The Court, having considered the Parties’ Motion,

finds there is good cause to grant this continuance.

       It is hereby ORDERED that the mediation deadline is continued to December 18, 2017,

discovery is stayed pending the outcome of mediation, the discovery deadline is extended to

March 2, 2018, and the Court adopts the case deadlines outlined below:


                                           DEADLINES

December 18, 2017        Mediation must occur by this date.

December 29, 2017        Deadline to disclose expert testimony pursuant to FRCP 26(a)(2) and
                         Local Rule CV-26(b)

Six weeks after          Deadline to object to any other party’s expert witnesses. Objections
disclosure of an         shall be made by a motion to strike or limit expert testimony and shall
expert is made.          be accompanied by a copy of the expert’s report in order to provide the
                         court with all the information necessary to make a ruling on any
                         objection.
March 2, 2018            All discovery shall be commenced in time to be completed by this date.
 Case 4:16-cv-00754-ALM Document 41 Filed 12/01/17 Page 2 of 3 PageID #: 387



May 3, 2018               Notice of intent to offer certified records.

May 3, 2018               Counsel and unrepresented parties are each responsible for (6 weeks
                          before final pretrial contacting opposing counsel and unrepresented
                          parties to conf.) determine how they will prepare the Joint Final Pretrial
                          Order (See Local Rule CV-16(b) and Joint Proposed Jury Instructions
                          and Verdict Form (or Proposed Findings of Fact and Conclusions of
                          Law in nonjury cases).

June 8, 2018              Video Deposition Designation due. Each party who proposes to offer a
                          deposition by video shall serve on all other parties a disclosure
                          identifying the line and page numbers to be offered. All other parties
                          will have seven calendar days to serve a response with any objections
                          and requesting cross examination line and page numbers to be included.
                          Counsel must consult on any objections and only those which cannot be
                          resolved shall be presented to the court. The party who filed the initial
                          Video Deposition Designation is responsible for preparation of the final
                          edited video in accordance with all parties designations and the court’s
                          rulings on objections.

June 11, 2018             Motions in limine are due.
                          File Joint Final Pretrial Order (See www.txed.uscourts.gov)

June 28, 2018             Responses to motions in limine are due.
                          File objections to witnesses, deposition extracts, and exhibits listed in
                          pre-trial order. (This does not extend deadline to object to expert
                          witnesses.)
                          File Proposed Jury Instructions/Form of Verdict (or Proposed Findings
                          of Fact and Conclusions of Law)

Date to be set by the     If numerous motions are filed, the court may set a hearing to consider all
Court. Usually            pending motions and objections.
within 10 days prior
to final pretrial conf.

July 13, 2018             Final Pretrial Conference at 9:00 a.m. at the Paul Brown United States
                          Courthouse located at 101 East Pecan Street in Sherman, Texas. Date
                          parties should be prepared to try case.




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    Case 4:16-cv-00754-ALM Document 41 Filed 12/01/17 Page 3 of 3 PageID #: 388


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    To be determined     Jury selection and trial at the Paul Brown United States Courthouse
                         located at 101 East Pecan Street in Sherman, Texas. A specific trial
                         date will be selected at the Final Pretrial Conference.


         IT IS SO ORDERED.
         SIGNED this 1st day of December, 2017.




                                    ___________________________________
                                    AMOS L. MAZZANT
                                    UNITED STATES DISTRICT JUDGE




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